                 Case 2:08-cr-00577-KJM Document 28 Filed 08/05/09 Page 1 of 2


     GREGORY A. VEGA, ESQ. (SBN 141477)
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 6 Attorneys for Defendant Salam S. Kalasho

 7                         IN THE UNITED STATES DISTRICT COURT
 8                       FOR THE EASTERN DISTRICT OF CALIFORNIA

 9 UNITED STATES OF AMERICA,                             )   CASE NO. CR. S-08-577 FCD
                                                         )
10                         Plaintiff,                    )   STIPULATION AND ORDER
                                                         )   AUTHORIZING THE RELOCATION OF
11          v.                                           )   SALAM S. KALASHO TO THE EASTERN
12                                                       )   DISTRICT OF MICHIGAN AND TO
   SALAM S. KALASHO,                                     )   AMEND CONDITIONS OF BOND TO
13 ANIL MALHI, and                                       )   PERMIT RELOCATION
   PISCES INTERNATIONAL, INC.,                           )
14                                                       )
                   Defendants.                           )
15                                                       )
16          There being no objection by the Pretrial Services Officer, and subject to the approval of the
17 Court,

18          IT IS HEREBY STIPULATED between the United States of America through its undersigned
19 counsel, Assistant United States Attorney, R. STEVEN LAPHAM, together with counsel for

20 Defendant Salam S. Kalasho, GREGORY A. VEGA, SELTZER CAPLAN McMAHON VITEK,

21 A.P.C., that Salam S. Kalasho may relocate to the Eastern District of Michigan to accept an offer of

22 employment, that the conditions of his bond may be amended to permit his relocation to the Eastern

23 District of Michigan, and that pretrial supervision be transferred to the Eastern District of Michigan.

24          IT IS SO STIPULATED.
25

26 Dated: August 4, 2009                                  /s/ Gregory A. Vega
                                                         Gregory A. Vega
27                                                       Attorney for Defendant Salam Kalasho

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                                                                                    Case No. CR. S-08-577 FCD
                                                        1
                                          Proposed Stipulation and Order
              Case 2:08-cr-00577-KJM Document 28 Filed 08/05/09 Page 2 of 2



 1 Dated: August 4, 2009                                 /s/ R. Steven Lapham
                                                        R. Steven Lapham
 2                                                      Assistant United States Attorney
 3                                                  ORDER
 4          IT IS SO ORDERED.
 5
     Dated: August 4, 2009.
 6
                                                 ______________________________________
 7                                               DALE A. DROZD
                                                 UNITED STATES MAGISTRATE JUDGE
 8

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                                                                                  Case No. CR. S-08-577 FCD
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                                        Proposed Stipulation and Order
